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               In the United States Court of Federal Claims
                               OFFICE OF SPECIAL MASTERS
                                        No. 13-179V
                                    (Not to be published)

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                                           *
WILLIAM T. SMITH, JR., as Fiduciary of the *
Estate of MICHAEL E. SMITH,                *
                                           *                  Filed: May 30, 2014
                   Petitioner,             *
                                           *                  Decision by Stipulation; Attorney’s
             v.                            *                  Fees & Costs
                                           *
SECRETARY OF HEALTH AND                    *
HUMAN SERVICES                             *
                                           *
                   Respondent.             *
                                           *
*****************************

Diana Stadelnikas Sedar, Sarasota, FL, for Petitioner

Darryl R. Wishard, Washington, DC, for Respondent

                       ATTORNEYS’ FEES AND COSTS DECISION 1

       On March 8, 2013, Petitioner filed a petition seeking compensation under the National
Vaccine Injury Compensation Program. On April 15, 2014, Petitioner filed a motion to dismiss.
On April 21, 2014, a decision dismissing the claim was filed, and judgment for dismissal
pursuant to Vaccine Rule 11(a) was entered on May 22, 2014.

       On May 30, 2014, counsel for both parties filed a joint stipulation in regards to attorneys’
fees and costs. The parties have stipulated that Petitioner’s counsel should receive a lump sum

1
  Because this decision contains a reasoned explanation for my action in this case, it will be
posted on the United States Court of Federal Claims’ website, in accordance with the E-
Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as
amended at 44 U.S.C. § 3501 note (2006)). As provided by Vaccine Rule 18(b), moreover, each
party has 14 days within which to request redaction “of any information furnished by that party:
(1) that is a trade secret or commercial or financial in substance and is privileged or confidential;
or (2) that includes medical files or similar files, the disclosure of which would constitute a
clearly unwarranted invasion of privacy.” Vaccine Rule 18(b). Otherwise, the decision will be
available to the public. Id.
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of $6,300.00, in the form of a check payable to Petitioner and Petitioner’s counsel. This amount
represents a sum to which respondent does not object.

        I approve the requested amount for attorneys’ fees and costs as reasonable. Accordingly,
an award should be made in the form of a check payable jointly to Petitioner and Petitioner’s
counsel, Diana Stadelnikas Sedar, Esq. In the absence of a motion for review filed pursuant to
RCFC Appendix B, the clerk of the court SHALL ENTER JUDGMENT in accordance with
the terms of the parties’ stipulation. 2


       IT IS SO ORDERED.
                                                         /s/ Brian H. Corcoran
                                                            Brian H. Corcoran
                                                            Special Master




2
 Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by filing a joint
notice renouncing their right to seek review.
